HAWLEY INVESTMENT COMPANY, PACIFIC NASH MOTOR COMPANY, AND BUTLER-VEITCH COMPANY, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  PACIFIC NASH MOTOR COMPANY, HAWLEY INVESTMENT COMPANY, AND BUTLER-VEITCH COMPANY, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hawley Inv. Co. v. CommissionerDocket Nos. 45169, 45170.United States Board of Tax Appeals23 B.T.A. 953; 1931 BTA LEXIS 1789; June 30, 1931, Promulgated *1789  The net loss of one of the affiliated corporations for the year 1926, at which time it was not a member of the affiliated group, operates to reduce the consolidated net income for the year 1927 under section 206(b) of the Revenue Act of 1926, even though such corporation having the net loss in 1926 also had a net loss in 1927.  Ben Ginsburg Co.,19 B.T.A. 81"&gt;19 B.T.A. 81, followed.  Ward Loveless, Esq., for the petitioners.  Eugene Meacham, Esq., for the respondent.  MCMAHON *954  These are proceedings, duly consolidated for hearing and opinion, for the redetermination of asserted deficiencies in income taxes.  The petitioners appeal as affiliated corporations.  Under Docket No. 45169, the basis for the petition is a letter addressed to Hawley Investment Company wherein the respondent asserted a deficiency of $382.92 in income tax for the year 1927.  Under Docket No. 45170, the basis for the petition is a letter addressed to the Pacific Nash Motor Company, wherein the respondent asserted a deficiency of $4,750.32 in income taxes for the year 1927.  The petition under each docket number alleges that the respondent erred in failing "to allow*1790  as a deduction from the consolidated gross income of petitioners for 1927, a net loss sustained by the Butler-Veitch Company in 1926, before that company was affiliated with the other two petitioners, of $28,095.47." The proceedings were submitted by the parties upon a stipulation of facts.  From this stipulation and from the admissions in the pleadings, we make our findings of fact.  FINDINGS OF FACT.  The petitioners are corporations with their principle office at 703 Syndicate Building, Oakland, Calif.The Butler-Veitch Company was not affiliated with the Hawley Investment Company and the Pacific Nash Motor Company during the year 1926, or with any other company.  The Butler-Veitch Company was affiliated with the Hawley Investment Company and the Pacific Nash Motor Company for the entire year 1927, and all three of the said companies properly filed a consolidated income-tax return for said year 1927.  In 1926 the Butler-Veitch Company sustained a net loss as defined in section 206 of the Revenue Act of 1926 in the amount of $25,216.40.  In 1927 the Butler-Veitch Company sustained a net loss as defined by section 206 of the Revenue Act of 1926 in the amount of $57,901.37, *1791  without considering the loss for 1926, and respondent has allowed this amount in determining the taxes of the affiliated group for 1927, the year involved herein.  In determining the deficiencies from which these appeals are taken, the respondent has computed a consolidated net income for 1927 of $183,031.08, and has not allowed as a deduction in computing said consolidated net income any part of the net loss of $25,216.40 sustained by the Butler-Veitch Company during the year 1926.  The sum of the incomes of the Hawley Investment Company and the Pacific Nash Motor Company for 1927 is $240,932.47.  *955  OPINION.  MCMAHON: The sole question here presented is whether, in computing the consolidated income of the three petitioners for the year 1927, there should be reflected the net loss of $25,216.40 sustained by the Butler-Veitch Company for the year 1926, in which year that company was not affiliated with the other two petitioners.  The Butler-Veitch Company also had a net loss for the year 1927, without considering the net loss for 1926.  Section 206(b) of the Revenue Act of 1926 provides: If, for any taxable year, it appears upon the production of evidence satisfactory*1792  to the Commissioner that any taxpayer has sustained a net loss, the amount thereof shall be allowed as a deduction in computing the net income of the taxpayer for the succeeding taxable year (hereinafter in this section called "second year"), and if such net loss is in excess of such net income (computed without such deduction), the amount of such excess shall be allowed as a deduction in computing the net income for the next succeeding taxable year (hereinafter in this section called "third year"); the deduction in all cases to be made under regulations prescribed by the Commissioner with the approval of the Secretary.  In , the same question was presented.  Adhering to our decision in that proceeding, we hold that the net loss of the Butler-Veitch Company for the year 1926 should be used to reduce the consolidated net income of the three petitioners for the year 1927.  Judgment will be entered under Rule 50.